
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ___________________
          No. 94-1999

                                 RALPH C. HAMM, III,

                                Petitioner, Appellant,

                                          v.

                    ARTHUR LATESSA, SUPERINTENDENT OF MCI, ET AL.,

                               Respondents, Appellees.
          No. 94-2018

                                 RALPH C. HAMM, III,

                                Petitioner, Appellee,

                                          v.

                    ARTHUR LATESSA, SUPERINTENDENT OF MCI, ET AL.,

                               Respondents, Appellants.
                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                [Hon. Walter Jay Skinner, Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                                 Selya, Cyr and Stahl,
                                   Circuit Judges.
                                   ______________

                                 ____________________

               Daniel  S. Tarlow,  with whom  John F.  Tocci and  Glovsky &amp;
               _________________              ______________      _________
          Associates were on brief, for petitioner.
          __________
               William  J.  Meade, Assistant  Attorney  General, with  whom
               __________________
          Scott   Harshbarger,   Attorney  General,   was  on   brief,  for
          ___________________
          respondents.

                                 ____________________

                                  December 28, 1995
                                 ____________________















                    SELYA, Circuit  Judge.  Petitioner Ralph  C. Hamm, III,
                    SELYA, Circuit  Judge.
                           ______________

          is   currently  serving  two   concurrent,  parole-eligible  life

          sentences in  a Massachusetts state  penitentiary.   He faces  an

          additional twenty-six to forty years in prison from and after the

          culmination  of  his life  sentences.   Hamm  solicits a  writ of

          habeas corpus,  naming as  respondents the superintendent  of the

          state   correctional   facility   where  he   is   confined,  the

          Commissioner  of Correction,  and the  Parole Board  (hereinafter

          collectively the respondent or  the Commonwealth), and contending

          that  a   policy  implemented  by  the   Commonwealth  after  his

          incarceration delayed his  eligibility for a parole  hearing.  In

          his  estimation,  the  change  in policy  transgressed  both  due

          process and  the ban on ex  post facto laws.   The district court

          rejected the latter  claim but  granted the writ  on due  process

          grounds and ordered, inter alia, a  nunc pro tunc parole hearing.
                               _____ ____     ____ ___ ____

                    The petitioner  appeals from both the  dismissal of his

          ex post  facto claim and from  the limited grant of  relief.  The

          Commonwealth cross-appeals  from the  due process ruling  and the

          allowance  of  any  relief.    We  hold  that  the Commonwealth's
                         ___

          implementation  of  the challenged  policy  neither abridged  the

          petitioner's rights under the Due Process Clause nor violated the

          Ex Post Facto  Clause.   Hence, we reverse  the district  court's

          order and dismiss the habeas application.

          I.  BACKGROUND
          I.  BACKGROUND

                    We divide the introductory  section of our opinion into

          five segments.


                                          2














                    A.  The Underlying Convictions and Sentences.
                    A.  The Underlying Convictions and Sentences.
                        ________________________________________

                    These  appeals  have  their   genesis  in  events  that

          occurred  over a quarter-century ago.  In 1969, following a bench

          trial,  a  Massachusetts court  found  the  petitioner guilty  of

          charges stemming from a brutal  attack and robbery that  occurred

          the  previous year.    A more  complete  account of  the  crimes,

          unnecessary  here,  is available  in  Commonwealth  v. Hamm,  471
                                                ____________     ____

          N.E.2d 416,  418-19 (Mass. App.  Ct. 1984)  (Hamm I).   The trial
                                                       ______

          court  sentenced petitioner  to  two concurrent,  parole-eligible

          terms of life imprisonment for his convictions on counts of armed

          robbery  and  assault with  intent to  rape, and  to a  series of

          consecutive sentences  totalling sixty-eight to  eighty years  on

          the other counts of conviction (including mayhem and assault with

          intent to murder).  These consecutive sentences were to be served

          "from and after" the  life sentences.1  The appeals  court, in an

          unpublished  rescript,  reduced the  from-and-after  sentences to

          twenty-six  to  forty  years   but  upheld  the  convictions  and

          sentences in all other respects.  

                         B.  The Parole-Eligibility Statute.
                         B.  The Parole-Eligibility Statute.
                             ______________________________

                    The   Massachusetts   statute   governing  the   parole

          eligibility  of  convicts  serving  terms  of  life  imprisonment

          provides (and substantially provided in 1968) that:

                         Every prisoner who is serving a sentence
                    for life in a correctional institution of the
                    commonwealth  [with specified  exceptions not
                    relevant here] shall be eligible  for parole,
                              
          ____________________

               1Sacrificing  originality for  clarity,  we refer  herein to
          this group of sentences as the "from-and-after sentences."

                                          3














                    and the parole board shall, within sixty days
                    before  the expiration  of  fifteen years  of
                    such  sentence,  conduct  a   public  hearing
                    before the full membership.
                    . . . .
                         After such hearing the parole board may,
                    by a vote of a majority of its members, grant
                    to  such prisoner  a parole  permit to  be at
                    liberty upon such terms and conditions as  it
                    may prescribe  for the unexpired term  of his
                    sentence.  If such permit is not granted, the
                    parole  board  shall, at  least once  in each
                    ensuing three year period, consider carefully
                    and thoroughly the merits of each such case .
                    . . .

          Mass.  Gen. L.  ch. 127,    133A.   Until 1977,  the Commonwealth

          considered inmates  who were not only serving  life sentences but

          also  facing  the  grim  prospect  of overhanging  from-and-after

          sentences as coming within the purview of section 133A.  Based on

          that interpretation of the statute, the Commonwealth granted such

          inmates  parole hearings  (for  possible parole  from their  life

          sentences  into their  from-and-after  sentences)  once they  had

          served  close  to fifteen  years.   Accordingly, after  the state

          court sentenced Hamm, correctional officials advised him that the

          parole-eligibility date referable to  his life sentences would be

          November 28, 1983.2

                           C.  The 1977 Aggregation Policy.
                           C.  The 1977 Aggregation Policy.
                               ___________________________

                    In 1977,  the Commonwealth recast its interpretation of

          section 133A.   The impetus for  change was  the decision of  the

          Massachusetts  Supreme  Judicial  Court   (SJC)  in  Henschel  v.
                                                               ________
                              
          ____________________

               2The respondent  fixed the  parole-eligibility date in  1969
          and informed the  petitioner of it  at that time.   It should  be
          noted,  however, that,  giving  credit for  time served  awaiting
          trial and  sentencing, the Commonwealth  deemed the  petitioner's
          effective date of sentence to be November 29, 1968.

                                          4














          Commissioner  of   Correction,  330  N.E.2d  480   (Mass.  1975).
          _____________________________

          Henschel required the aggregation for parole-eligibility purposes
          ________

          of a prisoner's consecutive county house of correction  and state

          institution  sentences.  See id.  at 483-85.   The SJC advanced a
                                   ___ ___

          thoughtful justification in support of aggregation:

                    To  follow the  defendant's [non-aggregation]
                    approach would require  the board  to make  a
                    series  of decisions granting parole from one
                    sentence to  the  next rather  than a  single
                    decision  on   the   basis  of   one   parole
                    eligibility  date for  all  sentences.    The
                    former procedure makes little sense since the
                    decision to  grant parole  is to be  based on
                    whether the board  believes the prisoner  can
                    live   freely   outside  of   prison  without
                    violating the law.

          Id. at 484.  The Commonwealth found this rationale to be  equally
          ___

          convincing in the context of making decisions to parole prisoners

          serving life sentences into overhanging from-and-after sentences.

          Consequently, it rethought its  earlier interpretation of section

          133A and  revised its  policies regarding parole  eligibility for

          certain classes of inmates,  including lifers who faced impending

          from-and-after  sentences.    Under  the  neoteric  policy,  such

          inmates were not regarded as falling under section 133A and would

          no  longer  receive parole  hearings  at  the fifteen-year  mark;

          instead,  the parole-ineligible  portion of  the  prisoner's life

          sentence  (fifteen years)  would be  aggregated with  the parole-

          ineligible portion of his from-and-after sentences to arrive at a

          "real"  parole-eligibility date, that is to say, a single date at

          which a favorable parole decision would  result in the prisoner's

          actual release from  incarceration, not just his parole  from one


                                          5














          sentence into another.3   While this  paradigm was not  compelled

          by the  holding in Henschel  (which did not  specifically address
                             ________

          the aggregation of life sentences with from-and-after sentences),

          the   respondent  determined  that   the  new   arrangement  more

          faithfully mirrored the tenets undergirding Henschel.
                                                      ________

                    In  1982   the year before Hamm would have received his

          initial  section  133A  hearing under  the  former  policy    the

          Commonwealth applied the  new policy to him and  recalculated his

          parole-eligibility date.4  The  aggregation resulted in a single,
                              
          ____________________

               3The document  explaining the new policy,  issued jointly by
          the Department of Correction and the Parole Board, bore the title
          "New Policies  and Practices  Regarding Aggregation of  `From and
          After'  Sentences (Henschel  Decision)."  It states  in  relevant
          part:

                    [I]t has become  necessary to revise existing
                    procedures and  policies covering aggregation
                    of  "from  and   after"  (i.e.   consecutive)
                    sentences  for  purposes of  computing parole
                    eligibility and good conduct deductions.

                    . . . .
                    Life Sentences
                    ______________
                    Life sentences  on which  there is no  parole
                    eligibility  . . .  cannot be aggregated with
                    any  other  sentences for  parole eligibility
                    purposes.   Life  sentences  which  do  carry
                    parole eligibility  . . . will  be aggregated
                                              ____
                    with other sentences  for parole  eligibility
                    purposes . . . . 

               4For much of  the life of this litigation,  the Commonwealth
          stubbornly insisted that it  aggregated Hamm's sentences pursuant
          to  a  different, long-established  policy,  and  that its  newly
          contrived  1977  policy  did  not  effect  any  change  regarding
          prisoners such as  Hamm.   Dissatisfied with the  record on  this
          point,  we  retained  appellate  jurisdiction  and  remanded  for
          factfinding.  The district court conducted an evidentiary hearing
          and  found, on the basis  of the petitioner's  prison records and
          testimony from  former and current  counsel to the  Parole Board,
          that prior to 1977  the respondent did in fact  follow a practice
          of  providing  fifteen-year  parole hearings  to  life  prisoners

                                          6














          "real" parole-eligibility  date of  November 2001.5   Though this

          structural change obviated the need  for the petitioner to obtain

          two parole permits to secure his release in  2001, he claims that

          it also impermissibly  deprived him of an opportunity for release

          at an earlier date.

                    The petitioner's thesis runs along the following lines.

          Massachusetts law affords  prisoners serving indeterminate  terms

          of  years various  ways to  reduce their  sentences.   These same

          options,  Hamm claims,  are not  available to  prisoners who  are

          serving life sentences.   Thus, if he  had been paroled  into his

          (indeterminate)  from-and-after sentences in  1983, he could have

          availed himself  of these  opportunities and possibly  could have

          gained his freedom  earlier than  2001.  Under  the 1977  policy,

          however, he effectively remains  on "life sentence status" during

          the  full term  of  his immurement  and,  therefore, cannot  take

          advantage of these early-release opportunities, which include:

                    (1) Establishing  a "Wrap-up" Date.   Once paroled into
                        ______________________________

          his  from-and-after sentences,  the petitioner  would immediately

                              
          ____________________

          facing  from-and-after sentences.   The Commonwealth  now accepts
          this  finding  and has  recanted its  assertion  that it  did not
          retroactively subject the petitioner to a new policy.

               5The exact manner  in which the  respondent arrived at  this
          date is inscrutable.  The  underlying calculation is not revealed
          in the court papers  and  Hamm's post-1982 prison  records (which
          from time to time have indicated various parole-eligibility dates
          ranging from  1999 to 2001) are  little help.  We  need not probe
          the point too  deeply, however, inasmuch as  the Commonwealth has
          not  disputed  the  petitioner's  contention  that   his  parole-
          eligibility date under the 1977 aggregation policy is in November
          of 2001.  Like the district court,  we will assume that to be the
          correct date.

                                          7














          acquire, subject  to divestiture  for misconduct,  statutory good

          time  under Mass. Gen. L. ch. 127,   129.  This "good time" would

          be based on  the top  end of his  indeterminate sentences  (forty

          years) and would,  the petitioner claims,  amount to sixteen  and

          one-half years.  He could  earn additional good-time credits  (up

          to  seven and  one-half  days  per  month)  by  participating  in

          educational  and  vocational programs.6   See  Mass. Gen.  L. ch.
                                                    ___

          127,    129D.  Moreover, the sentencing court (both initially and

          on  resentencing) gave the petitioner 210 days credit on his four

          from-and-after  sentences for  pre-sentence incarceration.   Hamm

          theorizes that this credit applies separately to each of his four

          from-and-after  sentences, yielding  an  aggregate credit  of two

          years and four months for jail time.

                    We  assume arguendo  the accuracy  of  the petitioner's
                               ________

          figures without  independently verifying them.7   These potential

          reductions, totalling twenty-three years and one month, would, if

          garnered,  enable him to leave prison without undergoing a second

          parole hearing after serving just sixteen years and eleven months



                              
          ____________________

               6Good-time credits that a convict earns while serving a life
          sentence  apparently  do not  reduce  his  life  sentence or  his
          parole-ineligible term; we are told that they are simply "banked"
          and only become useful to him in the event that his life sentence
          is  commuted to a  term of years.   Upon parole  into a from-and-
          after  sentence, the  convict would  lose his  "banked" good-time
          credits.

               7The  record is tenebrous as  to many of  Hamm's claims, and
          some of them,  e.g., the claim  of an entitlement  to an  840-day
          credit    for   pre-sentence   incarceration,    strike   us   as
          counterintuitive.

                                          8














          on his  from-and-after sentences.8  Hence, if  the petitioner had

          been  paroled into  his from-and-after  sentences in  November of

          1983, he might have  established a wrap-up date in  October 2000,

          thus bringing about his release more than a year earlier than his

          current aggregated parole-eligibility date.

                    (2)   Early  Parole.   Once paroled into  his from-and-
                          _____________

          after  sentences, the  petitioner could  also reduce  the parole-

          ineligibility period  of these  sentences, which  otherwise would

          remain at seventeen  years and  four months.   First, he  asserts

          that he would be  credited automatically with the same  two years

          and four  months  of jail  time.   But  see  note 7,  supra,  and
                                             ___  ___           _____

          accompanying  text.     Second,   his  earned  good   time  would

          effectively count  as time  served  toward his  parole-ineligible

          term.  On this basis, he argues that if he had gained parole from

          his life sentences in  1983 and earned section 129D  credits from

          then on  at the  maximum rate,  he might  have been  eligible for

          "real" parole as early as November of 1995.9

                    (3)     Special   Parole.     The  petitioner's   final
                            ________________
                              
          ____________________

               8This optimistic calculation assumes,  inter alia, that Hamm
                                                      _____ ____
          would  earn section 129D good  time at the  maximum possible rate
          over  the  duration of  his  from-and-after sentences.    If Hamm
          serves  sixteen years  and  eleven months  of his  from-and-after
          sentences on his best behavior, he could theoretically accumulate
          1,522.5 days of earned good time.

               9The petitioner arrives at this date by taking the following
          route:  208 months (Hamm's statutory parole-ineligible term) less
          28  months (pre-sentence  jail credits)  less 36  months (maximum
          possible section 129D credits during  first twelve years of from-
          and-after sentences) = 144 months.  If Hamm had begun serving his
          from-and-after sentences  in November of  1983, and if  his other
          assumptions proved  true,  he had  a  possibility of  securing  a
          parole hearing in November, 1995.

                                          9














          opportunity-related  theory suggests that aggregation has already

          deprived   him   of   the  possibility   of   obtaining   special

          consideration parole  as early as  1989, after serving  just one-

          third of his from-and-after minimum sentences, less jail credits.

          See   Hamm v. Commissioner  of Correction, 564  N.E.2d 1032, 1033
          ___   ____    ___________________________

          n.5  (Mass. App.  Ct.) (Hamm  II), rev.  denied, 566  N.E.2d 1131
                                  ________   ____  ______

          (Mass. 1991).   The  respondent effectively parries  this thrust,

          stating that Hamm may apply for this type of parole consideration

          even under the 1977  aggregation policy.  Finding no  evidence in

          the record that  the petitioner has made  an effort to  apply for

          special consideration parole, or that  the Parole Board would not

          consider  his request,  we cannot  conclude that  aggregation has

          deprived the petitioner of  this benefit.  See  id.  Accordingly,
                                                     ___ ____

          we do not further discuss this aspect of Hamm's claim of harm.

                                 D.  The 1988 Policy.
                                 D.  The 1988 Policy.
                                     _______________

                    The   Commonwealth  revisited   its  parole-eligibility

          policy anent life  prisoners facing  from-and-after sentences  in

          1988,  and resumed  the practice  of providing  them with  parole

          hearings  at  or near  the fifteen-year  mark.   A  1990 document

          prepared   by  the   respondent,  entitled   "Parole  Eligibility

          Regulations, Policies, Procedures," explains that parole-eligible

          life sentences are an exception to the general aggregation policy

          "because  of the statutory  requirement that a  parole hearing be

          held after a definite  period of time."   The about-face did  not

          ameliorate  the petitioner's  professed  plight;  the  respondent

          declined  to  apply this  policy  retroactively  because such  an


                                          10














          application, it  feared, might  hurt prisoners  approaching their

          aggregated  parole-eligibility  dates.    Thus,   Hamm's  parole-

          eligibility   date   was  not   recalculated,   and   he  remains

          incarcerated with no parole hearing on the horizon until November

          of 2001.

                             E.  The Habeas Proceedings.
                             E.  The Habeas Proceedings.
                                 ______________________

                    The  petitioner initiated  state habeas  proceedings in

          1990,  arguing,  among  other  things,  that  the  Commonwealth's

          failure to provide him with a parole hearing in 1983 deprived him

          of his right  to due process of law, and that the 1977 policy, as

          applied to him, violated  the prohibition on ex post  facto laws.

          A  state superior  court  judge dismissed  the petition,  and the

          Massachusetts   Appeals  Court  upheld  the  aggregation  of  the

          petitioner's   sentences  for  purposes   of  determining  parole

          eligibility.10  See  Hamm II, 564 N.E. 2d at  1033-34.  After the
                          ___  _______

          SJC  denied further  appellate review,  the petitioner  initiated

          federal habeas proceedings.
                              
          ____________________

               10The court appeared to misconstrue the petitioner's ex post
          facto argument; rather than focusing on whether the 1977  policy,
          as applied,  differed materially  from the  policy  in effect  in
          1968, the court  focused on the  1988 policy and ruled  that Hamm
          was not entitled to enjoy its benefits.  On this point, the court
          wrote:

                    The plaintiff's situation does not present an
                    ex post facto issue.  The rules have not been
                    changed  adversely  to  him.     Rather,  the
                    reverse has occurred:  after his offenses and
                    sentencing, a rule  has changed  in a  manner
                    that, if  applied to  him, would work  to his
                    advantage    or  so the  plaintiff  seems  to
                    think.

          Hamm II, 564 N.E.2d at 1034-35.
          _______

                                          11














                    The district  court found that the  Commonwealth had in

          fact applied a change  in the law to petitioner, but it concluded

          that the change  did not harm him and therefore  posed no ex post

          facto  problem.  On the due process  claim, the court took a more

          receptive stance.  It interpreted section 133A  as mandating that

          petitioner receive a parole  hearing on his life sentences  after

          fifteen  years,  and ruled  that  the  Commonwealth's failure  to

          provide him  a hearing  in that  time frame  deprived him  of due

          process.   The court ordered the state  to convene such a hearing

          nunc  pro tunc, and to continue convening such hearings at three-
          ____  ___ ____

          year intervals should parole be denied.  See Hamm v. Latessa, No.
                                                   ___ ____    _______

          91-10667-WJS, slip op. at 14 (D. Mass. May 18, 1994) (Hamm  III).
                                                                _________

          The  court  also decreed  that  if,  despite  the  serial  parole

          hearings, the petitioner remained in custody beyond 2001, then in

          such event, the 1977  policy should be applied to  him as written

          from that date forward.  See id.
                                   ___ ___

          II.  ANALYSIS
          II.  ANALYSIS

                    We  bifurcate  our  analysis,  examining  each  of  the

          petitioner's constitutional claims under a separate heading.

                              A.  The Due Process Claim.
                              A.  The Due Process Claim.
                                  _____________________

                    The district  court found that section  133A applied to

          the  petitioner  and afforded  him  a  liberty  interest  in  the

          convening of a parole hearing in 1983 (as he neared the  fifteen-

          year  mark of his life sentences).   The court based this finding

          on  its  interpretation of  section  133A,  emphasizing that  the

          statute  is written in  mandatory and unequivocal  terms   "Every


                                          12














          prisoner who  is serving  a  sentence for  life .  .  . shall  be
                                                                  _____

          eligible for  parole, and  the parole  board shall,  within sixty
                                                       _____

          days before  the expiration of  fifteen years  of such  sentence,

          conduct a public hearing . . . ." (emphasis supplied)   and makes

          no exception on  its face for life prisoners who  also have from-

          and-after sentences  in prospect.   To  buttress  this view,  the

          court noted that the aggregation policy expressed in section 133A

          could not apply to  the petitioner because his life  sentences by

          definition contain no "minimum" sentence, and therefore cannot be

          aggregated with his from-and-after sentences  to determine parole

          eligibility.   Building on this  foundation, the court  held that

          the  petitioner   had  an  unequivocal  statutory   right  to  be

          considered for  parole into his from-and-after  sentences once he

          had  served fifteen  years of  his life  sentences, and  that the

          Commonwealth  unconstitutionally  deprived  him of  this  liberty

          interest  by aggregating  his life  sentences with  his from-and-

          after sentences and  by failing  to grant him  an initial  parole

          hearing in 1983.

                    We  cannot accept  the lower court's  analysis.   It is

          settled  that a  statute  providing for  early  release or  other

          benefits under  stipulated conditions  may sometimes confer  upon

          prison inmates a  liberty interest protected  by the Due  Process

          Clause.11  See Board  of Pardons v.  Allen, 482 U.S. 369,  373-81
                     ___ _________________     _____
                              
          ____________________

               11This is so  even though, as a general rule,  a convict has
          "no  constitutional or inherent right  . . .  to be conditionally
          released before the expiration of a valid sentence."   Greenholtz
                                                                 __________
          v.  Nebraska Penal Inmates, 442 U.S. 1, 7 (1979).  The Greenholtz
              ______________________                             __________
          generality    like virtually  all generalities    admits of  some

                                          13














          (1987); Greenholtz  v. Nebraska  Penal  Inmates, 442  U.S. 1,  12
                  __________     ________________________

          (1979);  Wolff v. McDonnel, 418 U.S. 539, 556-72 (1974); see also
                   _____    ________                               ___ ____

          Kentucky  Dept. of Corrections v. Thompson,  490 U.S. 454, 461-62
          ______________________________    ________

          (1989)  (restating  principle and  citing  cases  but finding  no

          liberty  interest   created   by  state   regulations   governing

          visitation).   At the time  the district court  issued its order,

          constitutional  doctrine suggested  that a  state creates  such a

          liberty interest  "by  establishing `substantive  predicates'  to

          govern official decision-making . .  . and, further, by mandating

          the  outcome to  be  reached upon  a  finding that  the  relevant

          criteria  have been  met."   Thompson, 490  U.S. at  462 (quoting
                                       ________

          Hewitt  v.  Helms,  459  U.S.  460,  472  (1983),   and  omitting
          ______      _____

          citation).   The  statute at  issue in  Allen, for  example, used
                                                  _____

          "mandatory  language (`shall')  to `creat[e]  a  presumption that

          parole release  will be granted' when the designated findings are

          made."  Allen, 482  U.S. at 377-78 (quoting Greenholtz,  442 U.S.
                  _____                               __________

          at 12) (alterations in original).

                    In recent years, the tectonic  plates have shifted.  In

          Sandin  v. Conner, 115 S. Ct. 2293 (1995), the Justices explained
          ______     ______

          that, rather than relying on the presence or absence of mandatory

          language in determining whether a statute or regulation confers a

          liberty interest, courts should focus their inquiry on the nature

          of the interest allegedly created by the state.  See id. at 2297-
                                                           ___ ___

          3000.  State-created liberty interests "will be generally limited

          to freedom from restraint which, while not exceeding the sentence
                              
          ____________________

          exceptions.

                                          14














          in such an unexpected manner as to give rise to protection by the

          Due Process Clause  of its  own force .  . . nonetheless  imposes

          atypical and  significant hardship on  the inmate in  relation to

          the ordinary incidents of  prison life."  Id. at  2300 (citations
                                                    ___

          omitted).

                    While  the question  of whether  a state law  creates a

          liberty interest protected by  the Due Process Clause  is clearly

          one of  federal constitutional  law, the preliminary  question of

          parsing  the state law to  determine its substance  is not within

          the primary  domain of  a federal habeas  court.  See  Estelle v.
                                                            ___  _______

          McGuire, 502 U.S. 62, 67-68 (1991).  Federal courts "are bound by
          _______

          a  State's  interpretation  of  its  own  statute."    Garner  v.
                                                                 ______

          Louisiana, 368 U.S.  157, 166 (1961).  Particularly relevant here
          _________

          is Hebert  v.  Louisiana, 272  U.S.  312 (1926).   In  Hebert,  a
             ______      _________                               ______

          convicted  defendant  claimed  that  a  state  court's  incorrect

          construction of state law led to the imposition of a more onerous

          sentence  and thereby violated the Due Process Clause.  The Court

          rejected that claim, stating:

                    Whether state statutes shall be construed one
                    way or another is a state question, the final
                    decision  of which  rests with the  courts of
                    the State.  The due process  of law clause in
                    the Fourteenth Amendment does not take up the
                    statutes of the several States and  make them
                    the  test of  what it  requires; nor  does it
                    enable this Court to revise the decisions  of
                    the state courts on questions of state law.

          Id. at 316.  The rule, then, is that a federal habeas court  will
          ___

          not  disturb the  state  courts' construction  or application  of

          state  law unless  it  can be  shown  that such  construction  or


                                          15














          application offends the Constitution or some (applicable) federal

          statute.   See Bowser  v. Boggs,  20 F.3d  1060, 1065 (10th  Cir.
                     ___ ______     _____

          1994); Smith v. McCotter, 786 F.2d 697, 700  (5th Cir. 1986); cf.
                 _____    ________                                      ___

          Martinez v. California, 444 U.S. 277, 282 (1980) (explaining that
          ________    __________

          a state's  interest in fashioning its  own rules of state  law is

          paramount to any  federal interest except  protecting individuals
                                             ______

          from state action that is wholly arbitrary and irrational).

                    Given  the  clearly  demarcated  boundaries  of federal

          habeas review, the proper function of the court below was  not to

          second-guess the  state court  as to what  substantive guarantees

          the Commonwealth's statutory and regulatory mosaic provided under

          the particular  circumstances, but, rather,  simply to  determine

          whether the respondent's application of its parole scheme, deemed

          lawful  by the state's  courts, violated the  Due Process Clause.

          The  district court set out to accomplish the former task instead

          of the latter.  In so doing, it erred.

                    Here,  a  Massachusetts state  court has  already ruled

          that section 133A, as it read  both in 1968 and 1983, conveyed no

          right  to  a  fifteen-year   hearing,  and,  moreover,  that  the

          respondent's  aggregation of  Hamm's sentences was  a permissible

          policy notwithstanding any contrary signposts in the text  of the

          state  statute.  See Hamm II, 564  N.E.2d at 1033-34.  We believe
                           ___ _______

          that we are duty bound to follow this authoritative exposition of

          state  law and,  concomitantly,  to reject  the district  court's






                                          16














          impromptu interpretation  of state law.12  See  McGuire, 502 U.S.
                                                     ___  _______

          at 67-68; Garner, 368 U.S. at 166.
                    ______

                    We  have  considered   and  rejected  the  petitioner's

          argument  that  the  state  appellate  court's  decision  is  "so

          inconsistent  with the  statute's language  and history  that the

          state court  decision itself  [comprises] a wholly  arbitrary and

          irrational  action  in  violation of  due  process."   Ellard  v.
                                                                 ______

          Alabama Bd. of  Pardons and Paroles, 824 F.2d 937,  944 n.7 (11th
          ___________________________________

          Cir. 1987) (citation and internal quotation marks omitted), cert.
                                                                      _____

          denied, 485 U.S. 981 (1988).   A federal court must not  exercise
          ______

          the  raw  power to  strike down  state laws  in  the name  of the

          Constitution with too much gusto.  Section 133A is silent on  the

          parole   eligibility  of  life  prisoners  facing  from-and-after
                              
          ____________________

               12We  reach this  conclusion cognizant that  what we  deem a
          controlling state court interpretation of state law emanated from
          an intermediate  appellate court.   Intermediate appellate  court
          decisions  "are trustworthy  data  for  ascertaining state  law,"
          Losacco v. F.D. Rich  Constr. Co., 992 F.2d 382, 384  (1st Cir.),
          _______    ______________________
          cert. denied, 114 S. Ct. 324 (1993), and, in the absence of other
          _____ ______
          telltales indicating that the state's highest tribunal would have
          ruled otherwise, we believe  it is prudent to accept  the appeals
          court's  interpretation as  authoritative.   See, e.g.,  Fidelity
                                                       ___  ____   ________
          Union  Trust Co.  v.  Field, 311  U.S.  169, 177-78  (1940)  ("An
          ________________      _____
          intermediate state  court in declaring and applying the state law
          is acting  as an organ of the State and its determination, in the
          absence of more  convincing evidence  of what the  state law  is,
          should  be  followed  by a  federal  court  in  deciding a  state
          question.").
                    The respondent's  1988 about-face  and its return  to a
          non-aggregation  policy  for  life  inmates does  not  suggest  a
          different outcome.   Given the  language of the  statute and  the
          discretion reposed in the Parole Board, it is entirely  plausible
          that   both  the   1977   and  1988   policies  are   permissible
          interpretations of  state law.   Cf. Strickland  v. Commissioner,
                                           ___ __________     _____________
          Me. Dept. of Human Servs., 48 F.3d 12,  17-18 (1st Cir.) (holding
          _________________________
          that an agency's rule  may receive the usual degree  of deference
          even  when it represents  a "sharp departure  from a longstanding
          prior interpretation"), cert. denied, 116 S. Ct. 145 (1995).
                                  _____ ______

                                          17














          sentences; a Massachusetts  court had never  before ruled on  the

          issue: and the appeals court based its holding on Henschel, which
                                                            ________

          provided  a  defensible rationale  for  an  aggregation policy.13

          Under these circumstances, it would be unprincipled to declare by

          federal  fiat that the  Due Process Clause  broadly nullifies the

          Commonwealth's power  to construe  and apply its  laws correctly.

          See Lerner v. Gill, 751  F.2d 450, 459 (1st Cir.),  cert. denied,
          ___ ______    ____                                  _____ ______

          472 U.S. 1010 (1985).

                    The  petitioner has  also  asserted  that his  fourteen

          years  of state-induced  reliance  on a  prospective 1983  parole

          hearing, followed by the state's abrupt shift in policy, deprived

          him of due process.  In mounting this challenge, he embraces  our

          decisions  in Lerner and in DeWitt v.  Ventetuolo, 6 F.3d 32 (1st
                        ______        ______     __________

          Cir. 1993), cert. denied, 114  S. Ct. 1542 (1994).  Hamm's  ardor
                      _____ ______

          is mislaid.   Those cases  addressed the power  of a state  court

          retroactively  to correct  an  erroneous sentence  or a  mistaken

          interpretation  of state  law.   See  DeWitt,  6 F.3d  at  34-35;
                                           ___  ______

          Lerner,  751 F.2d  at 458-59.   However,  the calculation  of the
          ______

          petitioner's   original   parole-eligibility    date   was    not

          "incorrect,"  so  he arguably  possessed  a  greater interest  in

          seeing  it  carried  out  than  would  a  prisoner  who  was  the

          beneficiary  of   a  botched  calculation.     Nevertheless,  the

                              
          ____________________

               13Henschel supports the  view that,  since parole  decisions
                 ________
          are premised on whether  the Parole Board believes a  convict can
          live outside prison without behaving in an antisocial manner, the
          Parole Board should not normally be required to make a  series of
          decisions paroling a convict  from one sentence to another.   See
                                                                        ___
          Henschel, 330 N.E.2d at 484.
          ________

                                          18














          Lerner/DeWitt   line  of      cases  does   not  invalidate   the
          ______ ______

          Commonwealth's actions.  We explain briefly.

                    Though we  observed in Lerner,  751 F.2d  at 458,  that
                                           ______

          "unforeseeable  changes .  .  .  made  after  the  passage  of  a

          substantial  period  of  time  may, in  some  presumably  extreme

          circumstances, be fundamentally unfair and hence violative of due

          process even if  designed to correct  an illegal sentence,"  this

          observation is  inapposite here.  In  the first place, we  do not

          think  that   the  Massachusetts   Appeals  Court   decision  was

          unforeseeable;  as stated  above, the statute  was silent  on the

          precise situation,  there was no  decisional law directly  on the
                                        __

          point, and Henschel adumbrated the result reached in Hamm II.  In
                     ________                                  _______

          the second place,  a convict must show special prejudice stemming

          from a changed interpretation.   See DeWitt, 6 F.3d at 35.   This
                                           ___ ______

          requisite showing  must consist  of something more  tangible than

          merely demonstrating that "hopes were raised  only to be dashed."

          Lerner, 751  F.2d at 459.   Hamm has not  suffered prejudice even
          ______

          remotely approaching  that  sustained by  Lerner,  whose  parole-

          ineligibility period was extended from ten years to twenty  years

          after he had (1) undergone two parole hearings, (2) moved  into a

          minimum-security facility  and accepted other privileges, and (3)

          transported his family to another state and caused them to invest

          in  a business to create  an employment opportunity  for him, see
                                                                        ___

          id.  at 453    to  whom we  denied relief  under the  Due Process
          ___

          Clause, see id. at 459.
                  ___ ___

                    In this case, all roads lead to Rome.  We hold that the


                                          19














          Commonwealth did  not infract  the petitioner's rights  under the

          Due Process Clause when it failed to provide him a parole hearing

          in  1983.   The  administrative scheme  in  force at  that  time,

          approved  as lawful by a  state appellate court,  did not mandate

          that petitioner receive a parole hearing after fifteen years.  In

          ruling to the contrary, the district court erred.

                             B.  The Ex Post Facto Claim.
                             B.  The Ex Post Facto Claim.
                                 _______________________

                    Article  1,   10 of the Constitution ("No State shall .

          . . pass  any . . .  ex post facto Law") has  been interpreted to

          forbid the enactment of 

                    any statute which punishes  as a crime an act
                    previously committed, which was innocent when
                    done;   which   makes  more   burdensome  the
                    punishment for a crime, after its commission,
                    or which deprives  one charged with  crime of
                    any defense available according to law at the
                    time when the act was committed . . . .

          Beazell v. Ohio, 269 U.S. 167, 169-70 (1925); see also California
          _______    ____                               ___ ____ __________

          Dept. of Corrections  v. Morales,  115 S. Ct.  1597, 1601  (1995)
          ____________________     _______

          (stating that  "the Clause  is aimed at  laws that  retroactively

          alter the  definition of  crimes or  increase the  punishment for

          criminal acts") (citation and internal quotation marks  omitted);

          Collins v. Youngblood, 497 U.S.  37, 42 (1990) (quoting Beazell).
          _______    __________                                   _______

          Petitioner asseverates that, by depriving him of opportunities to

          obtain his  release  earlier  than November  of  2001,  the  1977

          aggregation policy  made his  punishment more burdensome  and is,

          therefore, an  impermissible ex post facto law.  The Commonwealth

          demurs.  In its view, the 1977  policy is not a "law" subject  to

          the  ex post facto proscription, and in all events, the resultant


                                          20














          aggregation  did  not   increase  the  petitioner's   punishment.

          Because we  agree with  the Commonwealth's second  contention, we

          need  not decide the thorny  question of whether  the 1977 policy

          comprised a "law" subject to ex post facto analysis.14

                    In line  with the  foregoing, we assume  for argument's

          sake,  but do  not  decide,  that  the  1977  aggregation  policy

          constituted a regulation possessing the full  force and effect of

          law, and  that it is therefore  subject to analysis under  the Ex

          Post Facto Clause.   This  assumption brings us  to the  decisive

          question:   Does the 1977  policy, as applied  to the petitioner,

          infringe  the constitutional proscription  against ex  post facto

          laws?

                              
          ____________________

               14We  note in passing  that, although the  Supreme Court has
          not addressed the question of whether an administrative policy or
          regulation can be  an ex post facto law, a  number of courts have
          held that binding administrative regulations, as opposed to those
          that serve merely as guidelines for discretionary decisionmaking,
          are laws subject to ex post  facto analysis.  See, e.g., Akins v.
                                                        ___  ____  _____
          Snow,  922 F.2d 1558, 1561 (11th Cir. 1991) (holding that Georgia
          ____
          parole board's new regulation  promulgated pursuant to  delegated
          legislative power  that  changed period  between inmate's  parole
          hearings  from one year  to eight years  was a law  subject to ex
          post  facto  analysis),  cert.  denied,  501  U.S.  1260  (1991);
                                   _____  ______
          Rodriguez  v. United States Parole Comm'n, 594 F.2d 170, 174 (7th
          _________     ___________________________
          Cir. 1979)  (deeming a  new regulation  that eliminated  a parole
          hearing after one-third of a prisoner's sentence "tantamount to a
          statute" for  ex post facto  purposes); Love  v. Fitzharris,  460
                                                  ____     __________
          F.2d   382,  385  (9th   Cir.  1972)  (holding   that  a  state's
          recalculation of a prisoner's parole-eligibility date under a new
          interpretation  of the  governing statutes  violated the  Ex Post
          Facto  Clause because  the state  had changed  its interpretation
          midstream), vacated as moot, 409 U.S. 1100 (1973).  There are, of
                      _______ __ ____
          course, cases   mostly  involving the federal Parole Commission's
          guidelines    that can  be read as  holding the other  way.  See,
                                                                       ___
          e.g., Kelly v.  Southerland, 967  F.2d 1531,  1532-33 (11th  Cir.
          ____  _____     ___________
          1992);  Inglese v. United States Parole Comm'n, 768 F.2d 932, 936
                  _______    ___________________________
          (7th Cir.  1985).  We see nothing to be gained from entering this
          thicket without a compelling need to do so. 

                                          21














                    It is a  universal truth that, for a  law to offend the

          Ex Post Facto  Clause, it  must be "more  onerous than the  prior

          law."   Dobbert  v. Florida,  432  U.S.  282, 294  (1977).    The
                  _______     _______

          prescribed inquiry demands that  we compare the new law  with the

          old  in its  totality  to ascertain  "if the  new  may be  fairly

          characterized as more onerous."  Id.  The inquiry must be carried
                                           ___

          out in practical, as opposed to purely theoretical, terms; the ex

          post facto prohibition does not foreclose every change in the law

          that  possesses some  imaginable risk  of adversely  affecting an

          inmate's punishment.   See Morales, 115  S. Ct. at 1602.   In the
                                 ___ _______

          last analysis, "the question of what legislative adjustments will

          be  held   to  be  of   sufficient  moment   to  transgress   the

          constitutional prohibition must be  a matter of degree."   Id. at
                                                                     ___

          1603.

                    There is  no mechanical  formula for  identifying which

          legislative  changes  have  a  sufficiently  profound  impact  on

          substantive  crimes  or punishments  to cross  the constitutional

          line and which do not.  Consequently, courts must determine, case

          by  case,  whether  a  particular  change  in  the  governing law

          "produces  a  sufficient  risk   of  increasing  the  measure  of

          punishment attached to  the covered crimes."  Id.   If so, the Ex
                                                        ___

          Post Facto Clause comes into play.  See Hill v.  Jackson, 64 F.3d
                                              ___ ____     _______

          163, 167-170 (4th Cir. 1995).

                    Morales  is  the touchstone  of  modern  ex post  facto
                    _______

          jurisprudence.  There, the Justices examined a state statute that

          permitted parole boards to  defer parole suitability hearings for


                                          22














          up  to  three  years  for  double  murderers  and  certain  other

          prisoners   if  the   board  specifically   found  that   it  was

          unreasonable to  expect that parole  would be granted  during the

          intervening years.   The Court concluded that the statute created

          "only  the   most  speculative  and   attenuated  possibility  of

          producing  the prohibited  effect  of increasing  the measure  of

          punishment for covered crimes,"  and held that these "conjectural

          effects" were insufficient  to animate the Ex Post  Facto Clause.

          Morales,  115 S.  Ct. at  1603 (footnote  and internal  citations
          _______

          omitted).

                    Buttressing  its  conclusion,   the  Court   identified

          several  aspects of  the  statute that  neutralized  the risk  of

          increasing the measure of punishment.  First, the statute applied

          only to "a class of prisoners for whom  the likelihood of release

          on parole  is quite remote."   Id. at 1603.   Second, the statute
                                         ___

          cabined the parole board's  discretion by requiring it to  make a

          specific  finding that a  particular prisoner was  unlikely to be

          paroled.  See  id.  Third, the statute only  applied to those who
                    ___  ___

          were  denied  parole  eligibility  the first  time  around,  thus

          restricting  the affected class to those least likely to be found

          suitable  for parole.    See id.    Finally, though  the  statute
                                   ___ ___

          addressed the frequency of suitability hearings, it empowered the

          board to "tailor the frequency of subsequent suitability hearings

          to the particular circumstances of the individual prisoner."  Id.
                                                                        ___

          The Court also noted  that "the possibility of  immediate release

          after a finding of suitability for parole is largely theoretical;


                                          23














          in  many cases, the prisoner's parole release date comes at least

          several  years  after a  finding  of  suitability," and  so  "the

          practical effect  of a hearing postponement  is not significant."

          Id. (citation and internal quotation marks omitted).
          ___

                    At bottom, Morales is about  the risk or likelihood  of
                               _______

          harm:  the Court upheld the California statute largely because it

          found the risk of increased punishment posed by the new law to be

          speculative and,  at any  rate, to fall  within acceptably  small

          boundaries.15     Viewed  against  this  backdrop,   Hamm's  case

          founders.  Though  the parole scheme in  effect in 1968  may have

          afforded him the possibility  of terminating his incarceration as

          early as 1995 if a series of events materialized, it seems highly

          unlikely  that these  events  would  have  come  to  pass.    The

          likelihood of harm, therefore, is tiny.  And,  moreover, it is at

          least   equally  possible   that,  because   of  the   structural

          differences  imposed  by the  two  policies, Hamm  may  well have

          languished in prison longer  under the old scheme than  under the

          new.     On  balance,  then,   it  is  virtually   impossible  to
                              
          ____________________

               15The dissent strongly suggests  that Morales stands for the
                                                     _______
          bright-line  proposition  that  any  action  which  substantially
          delays,  or  deprives a  prisoner of,  an initial  parole hearing
          works  a per  se violation  of  the Ex  Post Facto  Clause.   The
                   ___  __
          Morales Court rejected a  similar argument, emphasizing that such
          _______
          an  "arbitrary line has absolutely  no basis in the Constitution.
          If  a delay in parole hearings  raises ex post facto concerns, it
                                                 __ ____ _____
          is because that delay effectively increases a  prisoner's term of
          confinement, and  not because the hearing  itself has independent
          constitutional significance."  Morales,  115 S. Ct. at 1603  n.4.
                                         _______
          The  dissent's   mechanical  approach   not  only  ignores   this
          admonition but also overlooks Morales's central  holding, namely,
                                        _______
          that a proper  ex post facto inquiry must focus  on the risk that
          the   prisoner  will  be  subject  to  an  increased  measure  of
          punishment.

                                          24














          prognosticate the risk that  the petitioner may be released  at a

          later date because  the 1977 policy rather  than its predecessor,

          controls in his case.  

                    Under   the  original  policy,  unless  the  petitioner

          managed to  obtain  parole in  1983  and thereafter  amassed  all

          possible credits, he would still have to be paroled a second time

          in order to be released  as early as 1995, or,  alternatively, to

          garner every conceivable credit in order to attain a wrap-up date

          in  October  of 2000.    The record  is  bereft  of any  evidence

          suggesting that  Hamm would  probably achieve prompt  parole into

          his from-and-after sentences,  become a model prisoner,  go on to

          earn  all available  credits,  and then  be  paroled out  of,  or

          otherwise released from, his from-and-after sentences at any time

          before  2001.16   In fine,  this case,  like Morales,  involves a
                                                       _______

          situation  in   which  the   possibility  of  harm   is  entirely

          speculative.17
                              
          ____________________

               16If past is  prologue, cf. W. Shakespeare, The Tempest, act
                                       ___                 ___________
          II,  sc. i (1612), all of these prospects seem extremely dubious.
          Hamm's  disciplinary record  reveals a  cavalcade of  misconduct,
          including episodes of inciting a prison riot, arson, assaulting a
          guard,  attempting  an  escape,  conspiring to  take  a  hostage,
          organizing a work stoppage, and possessing controlled substances.
          These are not the emblemata of an inmate who is  likely either to
          inspire a  parole board  to act  favorably on  his  behalf or  to
          accumulate good-time credits at a rapid rate.

               17There are, of  course, other similarities to  Morales.  We
                                                               _______
          mention two of them.   First, the  challenged policy here    like
          the statute at issue in Morales, 115 S. Ct at 1603   applies only
                                  _______
          to a limited class  of prisoners (here, life inmates who face the
          overhanging prospect  of from-and-after  sentences) for whom  the
          likelihood of release on  parole is considerably below  the norm.
          Second,  the  availability  of  special parole,  see  supra  Part
                                                           ___  _____
          I(C)(3), offers the Parole Board the flexibility that the Morales
                                                                    _______
          Court deemed important.  See id. at 1604.
                                   ___ ___

                                          25














                    This  case  also  possesses a  further  dimension  that

          weighs against the petitioner's position.  Whereas the new law in

          Morales  could  not  conceivably  have  inured  to  a  prisoner's
          _______

          benefit, the new aggregation policy that the Commonwealth adopted

          in  1977 might very  well redound to  the petitioner's advantage.

          After all, the  1977 policy  eliminates the need  for two  parole

          permits  and  ensures that  the petitioner  will be  eligible for

          parole from all his sentences  at one fell swoop.  Under  the old
                      ___

          policy, if the  respondent denied the petitioner  parole into his

          from-and-after  sentences  in  1983,  1986,  and  1989     not an

          unlikely  eventuality in  light of  Hamm's mottled  record    his

          wrap-up  date,  even  assuming  the accrual  of  all  conceivable

          credits, would not occur until sometime in 2006.  This  is a full

          five years after the date  on which he could be paroled  from all
                     _____

          his sentences under the 1977 policy.

                    This scenario  prompted the district court  to conclude

          that   "[i]n   1982,  when   the   respondent   recalculated  the

          petitioner's  parole eligibility,  it was  not clear  whether the

          petitioner would be helped or harmed by aggregation; the  balance

          sheet  is  unclear even  today."   Hamm  III,  slip op.  at 10.18
                                             _________
                              
          ____________________

               18The Morales  Court pointed  out that the  relevant inquiry
                     _______
          must not  focus "on  whether a  legislative change produces  some
          ambiguous  sort of `disadvantage,' . .  . but on whether any such
          change  .  .  .  increases  the  penalty  by  which  a  crime  is
          punishable."  Morales, 115 S. Ct. at 1602 n.3.   Despite the fact
                        _______
          that the district court issued its opinion without the benefit of
          Morales and framed  the corresponding  part of its  ruling as  an
          _______
          inquiry   into   whether   the   1977  policy   resulted   in   a
          "[d]isadvantage  to  the  petitioner,"   it  nonetheless  made  a
          thoroughgoing   examination  of   the  uncertainty   inherent  in
          comparing potential results under the old and new policies. 

                                          26














          This statement  is unarguably accurate, and  the uncertainty that

          it  portends   strips  the   veneer  of  plausibility   from  the

          petitioner's ex post facto initiative.  Morales makes  it crystal
                                                  _______

          clear that  such  uncertainty militates  against  the  petitioner

          because  any other  approach  would "effectively  shift[] to  the

          State the burden  of persuasion  as to [the  prisoner's] ex  post

          facto claim."   Id. at 1603 n.6.  A  party who asserts an ex post
                          ___

          facto  claim must show a real possibility of cognizable harm, not

          a  theoretical  possibility  bound  up  in  gossamer  strands  of

          speculation and surmise.

                    We find illuminating a recent decision of another court

          that needed to construct the ex post facto balance of prospective

          benefits and burdens.   In United States v.  McGee, 60 F.3d  1266
                                     _____________     _____

          (7th Cir. 1995), the court addressed an amendment that became law

          following the defendant's conviction but before the imposition of

          sentence.    The  amendment  eliminated  a  twelve-month  minimum

          sentence for the  offense of  conviction and replaced  it with  a

          range of  twenty-one to twenty-four  months.  The  district court

          imposed the  maximum twenty-four-month sentence.   The  defendant

          appealed, claiming that the amendment  violated the ex post facto

          prohibition  because  it removed  the  possibility  of a  shorter

          sentence,  i.e.,  a sentence  of  between  twelve and  twenty-one

          months.   The Seventh Circuit disagreed.  It noted that, although

          the amendment eliminated an opportunity for a milder sentence, it

          also placed a  ceiling on  the maximum  available sentence,  thus

          narrowing "the range of punishment to [the defendant's] benefit."


                                          27














          Id.  at 1271.  This potential benefit  made an evaluation  of the
          ___

          risk  that  the new  law might  subject  the prisoner  to harsher

          punishment  too  speculative  to  constitute  an  ex  post  facto

          violation.  See id.
                      ___ ___

                    The Seventh  Circuit's  rationale is  persuasive  here.

          Due to  the peculiar concatenation of  circumstances   especially

          the profound uncertainty over how the petitioner would have fared

          under the old system  and the potential benefits that  may accrue

          to  him under  the  new  regime    the  potential  risk  of  more

          Draconian  punishment  under  the  1977  policy  defies  reliable

          measurement.  As  a result, we hold  that the application of  the

          new  policy to the  petitioner did not  insult the Ex  Post Facto

          Clause.

          III.  CONCLUSION
          III.  CONCLUSION

                    We need go no  further.  For the foregoing  reasons, we

          reverse the  district court's  order and dismiss  the application

          for a writ of habeas corpus.



          It is so ordered.
          It is so ordered.
          ________________



                           Separate Opinion Follows



                      STAHL, Circuit Judge (concurring in part and
                      STAHL, Circuit Judge (concurring in part and
                             _____________

            dissenting in part).  I agree that the Commonwealth did not
            dissenting in part).

            violate Hamm's rights under the Due Process Clause when it

            failed to provide him a parole hearing in 1983.  Unlike my


                                          28















            colleagues, however, I am persuaded that, as applied to Hamm

            and other similarly-situated prisoners, the 1977 aggregation

            policy is an unconstitutional ex post facto law.  First, I

            believe that the 1977 aggregation policy, which effectively

            altered the date of Hamm's initial parole hearing, is a "law"

            subject to ex post facto limitations.  Second, contrary to my

            colleagues, I believe that the 1977 policy, as applied to

            Hamm and other similarly-situated prisoners, clearly produces

            a risk of increasing the measure of punishment sufficient to

            violate the Ex Post Facto Clause.  Hence, I respectfully

            dissent from parts II.B.-III.

                                          I.
                                          I.

                      Article 1,   10 of the Constitution clearly

            proscribes the authority of a state to enact any ex post

            facto law.  As the majority explains, it is long settled that

            the Clause forbids 

                      any statute which punishes as a crime an
                      act previously committed, which was
                      innocent when done; which makes more
                      burdensome the punishment for a crime,
                      after its commission, or which deprives
                      one charged with crime of any defense
                      available according to law at the time
                      when the act was committed.

            Collins v. Youngblood, 497 U.S. 37, 42 (1990) (quoting
            _______    __________

            Beazell v. Ohio, 269 U.S. 167, 169-70 (1925)); see also
            _______    ____                                ___ ____

            California Dep't of Corrections v. Morales, 115 S. Ct. 1597,
            _______________________________    _______

            1601 (1995) ("the Clause is aimed at laws that retroactively

            alter the definition of crimes or increase the punishment for


                                         -29-
                                          29















            criminal acts") (internal quotation omitted).  In general, an

            ex post facto inquiry requires a two-step analysis.  See
                                                                 ___

            Miller v. Florida, 482 U.S. 423, 430 (1987).  A court should
            ______    _______

            ask (1) whether the challenged provision is a "law" that acts

            retrospectively, and (2) whether the burden the law

            retrospectively imposes is of sufficient type and degree to

            violate the Constitution. 

                      In this case, Hamm argues that the 1977 aggregation

            policy violated the Ex Post Facto Clause by retroactively

            depriving him of opportunities to obtain his release earlier

            than November 2001.  In response, the Commonwealth contends

            that the 1977 aggregation policy was not a "law" subject to

            ex post facto limitation, and that, in any event, the

            aggregation did not increase Hamm's punishment.  My

            colleagues agree with the second contention, and therefore

            find it unnecessary to consider the first.  Because, as I

            explain more fully infra at 35-43, I believe that the 1977
                               _____

            aggregation policy engendered a sufficient risk of increasing

            Hamm's punishment, I cannot avoid the first prong of the

            Commonwealth's argument.  Accordingly, I proceed first to

            explore fully whether the 1977 aggregation policy is a "law"

            subject to ex post facto proscription, and, second, to

            discuss my disagreement with the majority over whether the







                                         -30-
                                          30















            new policy produces a risk of increasing the measure of

            punishment sufficient to violate the Constitution.19

            A.  Is the 1977 Aggregation Policy a "Law"?
            ___________________________________________

                      I agree with the district court that the 1977

            aggregation policy was a "law" for purposes of ex post facto

            analysis.  Although the aggregation policy was not formally

            promulgated as a regulation governing the Parole Board, it

            was as binding on the Parole Board, on a case-by-case basis,

            as an act passed by the legislature would have been. 

            Moreover, the Commonwealth does not argue that, once the

            policy had been promulgated, the Parole Board had any

            discretion to deviate from the policy in any particular

            instance.

                      The Supreme Court has not addressed the question of

            whether an administrative policy or regulation can be an ex

            post facto law.  A number of circuit courts, however, have

            held that binding administrative regulations, as opposed to

            those that serve merely as guidelines for discretionary

            decisionmaking, are laws subject to ex post facto limitation. 

            For example, in a case factually similar to this one, the

            Ninth Circuit held that the California Department of

            Corrections's recalculation of a prisoner's parole-

            eligibility date under its new interpretation of the

                                
            ____________________

            19.  I  do  not  restate  the  facts  or  outline  the  prior
            proceedings.  For a complete discussion of these matters, see
            Majority Opinion at 2-12.
            ________________

                                         -31-
                                          31















            governing statutes violated the Ex Post Facto Clause because

            "the Department has changed its interpretation of the

            authority itself."  Love v. Fitzharris, 460 F.2d 382, 385
                                ____    __________

            (9th Cir. 1972), vacated as moot, 409 U.S. 1100 (1973).  The
                             _______ __ ____

            Love court stated that:
            ____

                      the interpretation of the relationship
                      between the statutes . . . by the
                      administrative agency charged with their
                      enforcement has the force and effect of
                      law. . . . [N]ot only defendants, in
                      contemplating their pleas, but also trial
                      courts, in imposing sentences, are
                      entitled to rely on such administrative
                      interpretations. . . . A new
                      administrative interpretation which
                      subjects the prisoner already sentenced
                      to more severe punishment has the same
                      effect as a new statute lengthening his
                      present term . . . .

            Id. (citations omitted).  The Eleventh Circuit similarly
            ___

            concluded that a regulation, promulgated pursuant to the

            Georgia parole board's delegated legislative power, that

            changed the period between inmate's parole hearings from one

            to eight years was a "law" subject to ex post facto

            limitation.  Akins v. Snow, 922 F.2d 1558, 1561 (11th Cir.),
                         _____    ____

            cert. denied, 501 U.S. 1260 (1991); see also Rodriguez v.
            _____ ______                        ___ ____ _________

            United States Parole Comm'n, 594 F.2d 170, 174 (7th Cir.
            ___________________________

            1979) (new regulation eliminating parole hearing after one-

            third of sentence is "tantamount to a statute" for ex post

            facto purposes).

                      In those cases holding that particular

            administrative regulations or guidelines were not laws
                                                          ___


                                         -32-
                                          32















            subject to the Ex Post Facto Clause, courts have often

            premised their holdings, at least in part, on the advisory

            nature of the regulation or guidelines in question.  See,
                                                                 ___

            e.g., Kelly v. Southerland, 967 F.2d 1531, 1532-33 (11th Cir.
            ____  _____    ___________

            1992) (rescission guidelines promulgated by federal Parole

            Commission did not violate Ex Post Facto Clause because they

            both were subject to amendment by the Commission and merely

            guided, but did not dictate, actual parole decisions); Smith
                                                                   _____

            v. United States Parole Comm'n, 875 F.2d 1361, 1367 (9th Cir.
               ___________________________

            1988) (finding parole "regulation" was not an ex post facto

            law and noting that "the operative factor in assessing

            whether a directive constitutes a `law' for ex post facto

            purposes is the discretion that the Parole Commission retains

            to modify that directive or to ignore it altogether as the

            circumstances may require"); Inglese v. United States Parole
                                         _______    ____________________

            Comm'n, 768 F.2d 932, 936 (7th Cir. 1985) ("The power to
            ______

            exercise discretion indicates that the [parole] guidelines

            are merely guides, and not law:  guides may be discarded when

            circumstances require; laws may not.").  Moreover, these

            cases involve the federal Parole Commission's guidelines,

            which are "truly advisory" because the Commission possesses

            the authority to disregard them in the appropriate

            circumstances.  Bailey v. Gardebring, 940 F.2d 1150, 1158
                            ______    __________

            (8th Cir. 1991) (Lay, C.J., dissenting), cert. denied, 112 S.
                                                     _____ ______

            Ct. 1516 (1992).  The Commonwealth makes no claim that its



                                         -33-
                                          33















            aggregation policy was merely "advisory" or that it was free

            to disregard the policy in a particular case.

                      The Commonwealth does postulate, however, that

            because it had discretion to adopt the 1977 aggregation

            policy in the first place and to modify the policy

            subsequently, as it did in 1988, the policy should not be

            considered a law.  Although a number of the federal Parole

            Commission cases have relied in part on this reasoning,20

            see, e.g., Smith, 875 F.2d at 1367, I would reject it here. 
            ___  ____  _____

            The argument not only exalts form over substance but its

            logic suggests that even legislative acts, because they too

            may be modified, should be immune to challenge under the Ex

            Post Facto Clause.  See Bailey, 940 F.2d at 1158 (Lay, C.J.,
                                ___ ______

            dissenting).  A binding policy or regulation, promulgated

            pursuant to delegated legislative authority by an

            administrative body that implicitly retains authority to

            amend it in the future, is no different in its force and

            effect than a law passed by a legislature that retains

            authority to amend or revoke that law.  The Commonwealth's

                                
            ____________________

            20.  The Commonwealth claims that the Eighth  Circuit adopted
            this  reasoning  in Bailey,  which  held  that  a  change  in
                                ______
            Minnesota parole  board regulations abolishing  annual review
            of  prospective  release  dates   and  limiting  the  board's
            discretion in changing  such dates did  not constitute a  law
            for ex  post facto  purposes, even  though  the board  lacked
            discretion to  disregard its  regulations in any  given case.
            However, the relevant  section of Bailey,  940 F.2d at  1156,
                                              ______
            drew  the  concurrence of  a second  panel  member as  to the
            result  only, and not its reasoning, id. at 1157 (Stuart, J.,
                                                 ___
            concurring).

                                         -34-
                                          34















            Parole Board possessed delegated legislative authority to

            promulgate the aggregation policy:  "The parole board shall .

            . . make rules relative to the performance of its duties." 

            Mass. Gen. L. ch. 27,   5(e).  Furthermore, under

            Massachusetts law, an agency regulation21 "promulgated

            pursuant to a legislative grant of power generally [has] the

            force of law."  Kenney v. Commissioner of Correction, 468
                            ______    __________________________

            N.E.2d 616, 619 (Mass. 1984).  Thus, because the 1977

            aggregation policy was effectively a regulation having the

            full force and effect of law, I would hold that it is subject

            to limitation under the Ex Post Facto Clause.
















                                
            ____________________

            21.  That  the   1977  policy  was  not   formally  deemed  a
            "regulation"   also   does   not   seem   to  matter:   Under
            Massachusetts law, a "regulation"

                      includes the  whole or any part  of every
                                                          _____
                      rule,   regulation,  standard   or  other
                      ____    __________   ________   __  _____
                      requirement  of  general application  and
                      ___________  __  _______ ___________  ___
                      future effect . .  . adopted by an agency
                      ______ ______
                      to   implement   or  interpret   the  law
                      enforced or administered by it.

            Mass. Gen. L. ch. 30A,   1(5) (emphasis added).

                                         -35-
                                          35















            B.  Does the 1977 Aggregation Policy Produce a Sufficient
            _________________________________________________________

            Risk of Increasing the Measure of Punishment?
            _____________________________________________

                      I now turn to the issue at the heart of my

            disagreement with the majority:  Whether, as applied to Hamm

            and other similarly-situated prisoners, the 1977 aggregation

            policy produces a risk of increased punishment sufficient to

            violate the Ex Post Facto Clause?  My colleagues answer this

            question in the negative, basing their conclusion on two

            premises.  First they deem it highly unlikely that, under the

            prior policy, Hamm would have won early parole from his life

            sentence and acquired the necessary good-time credits to

            advance the date of his ultimate parole hearing to a point

            earlier than 2001.  Hence, they conclude that any harm to

            Hamm ensuing from the 1977 aggregation policy is highly

            speculative.  Second, they posit that, due to structural

            differences between the two policies, a "real" benefit

            accrues to Hamm under the new policy.  Then, combining these

            two premises, my colleagues ultimately conclude that, on

            balance, the 1977 aggregation policy does not violate the Ex

            Post Facto Clause.  I strongly disagree.

                      My colleagues favorably compare the risk of

            increased punishment occasioned by the 1977 aggregation

            policy with the risk of increased punishment recently

            examined by the Supreme Court in California Dep't of
                                             ___________________

            Corrections v. Morales, 115 S. Ct. 1597 (1995).  In Morales,
            ___________    _______                              _______



                                         -36-
                                          36















            the Court considered an amendment permitting the California

            state parole board to defer annual parole-suitability

            hearings for up to three years for prisoners at least twice

            convicted of murder.  Id. at 1600.  In upholding the
                                  ___

            amendment, the Court rejected the contention that it violated

            the Ex Post Facto Clause simply because the deferral of

            subsequent suitability hearings deprived affected prisoners

            of an opportunity to gain an earlier release from prison. 

            Id. at 1602 n.3.  The Court explained that just because the
            ___

            amendment caused the loss of some theoretical opportunity to

            gain an earlier release did not mean that it necessarily

            violates the Constitution.  Id.  Instead, the Court held
                                        ___

            that, for ex post facto purposes, the test is whether the

            loss of that opportunity actually produces a "sufficient risk

            of increasing the measure of punishment for the attached

            crimes."  Id. at 1603.  
                      ___

                      In applying this test, the Court focused on several

            factors that significantly minimized the California

            amendment's risk of harm.  Morales, 115 S. Ct. at 1603-05. 
                                       _______

            First, the Court noted the amendment's limited application. 

            Id. at 1603.  The amendment had no effect on any prisoner
            ___

            unless the California parole board first found that the

            prisoner was both unsuitable for parole and unlikely to be

            found suitable at subsequent hearings during the deferral

            period.  Id. at 1604.  Moreover, the Court noted that the
                     ___



                                         -37-
                                          37















            amendment did not affect "the date of any prisoner's initial

            parole suitability hearing:  it affected the timing only of

            subsequent hearings."  Id. at 1605.
                                   ___

                      Next, the Court observed, inter alia, that, even
                                                _____ ____

            with respect to a prisoner who might have actually received a

            favorable recommendation at an omitted hearing, the practical

            effect of the amendment on that prisoner's ultimate release

            date was only slight.  Morales, 115 S. Ct. 1605.  At the
                                   _______

            deferred hearings, the parole board determined only a

            prisoner's "suitability" for parole but did not set actual

            parole dates.  Id.  The Court noted that, significantly, in
                           ___

            many cases, an actual parole date comes several years after a

            finding of suitability.  Id.  Moreover, under California law,
                                     ___

            evidence that a prisoner in fact had been "suitable" for a

            year or two prior to the date of the prisoner's delayed

            hearing would be relevant in setting the prisoner's actual

            parole date.  Id.  Hence, the Court concluded that, in most
                          ___

            cases, any delay resulting from the amendment could be

            corrected by the parole board when it set the prisoner's

            ultimate release date.  Id.
                                    ___

                        In short, the Court recognized that the

            amendment's built-in limitations, severely restricting both

            its application and potential effect, effectively minimized

            any risk of increased punishment caused by the elimination of

            subsequent suitability hearings.  Furthermore, the Court



                                         -38-
                                          38















            carefully limited the breadth of its holding, expressly

            disavowing any opinion "as to the constitutionality of any of

            a number of statutes that might alter the timing of parole

            hearings under circumstances different from those present

            here."  Morales, 115 S. Ct. at 1603 n.6.  
                    _______

                      On close analysis, I believe the effect of the 1977

            aggregation policy challenged here differs significantly from

            the risk of increased harm produced by the Morales amendment. 
                                                       _______

            First, in contrast to the Morales amendment, the adoption of
                                      _______

            the 1977 aggregation policy potentially affects all

            Massachusetts prisoners previously eligible for parole from a

            life sentence into consecutive from-and-after sentences.  No

            provision in the policy limits the class of affected

            prisoners to only those adjudged by the Commonwealth's Parole

            Board (or some similar body) to be unlikely to win early

            parole or to earn significant good-time credits.  Moreover,

            where the Morales amendment affected only subsequent
                      _______

            hearings, the 1977 aggregation policy essentially delays an

            affected prisoner's initial parole hearing.

                      Second, also in contrast to Morales, the impact of
                                                  _______

            the 1977 aggregation policy on those it affects is

            substantial.  For example, under the prior policy, Hamm could

            have terminated his incarceration as early as 1995, through

            the acquisition of earned and statutory good-time credits and





                                         -39-
                                          39















            the application of his jail credits.22  The 1977

            aggregation policy extinguished that possibility; Hamm's term

            of incarceration cannot end under the 1977 policy before his

            first-available parole hearing in 2001.  Thus, in contrast to

            the amendment in Morales, which will have little, if any,
                             _______

            real impact on an affected prisoner's actual time in prison,

            the 1977 aggregation policy could potentially increase Hamm's

            prison term by up to six years.  See Weaver v. Graham, 450
                                             ___ ______    ______

            U.S. 24, 26-27, 31-34 (1981) (holding that new state statute

            reducing amount of good time that could be earned

            prospectively by current inmates violates Ex Post Facto

            Clause because it removed existing opportunity for shortened

            prison time).

                      My colleagues gloss over these clear distinctions

            by positing that, whatever the risk might have been at the

            outset, given the brutal nature of Hamm's crime and his poor

            record as a prisoner, it is highly unlikely that Hamm could

            have availed himself of the opportunity to obtain an earlier

            release.  Such analysis, however, is more akin to a harmless

            error inquiry focusing on the particulars of Hamm's case than

            to a proper ex post facto inquiry into whether the new law

                                
            ____________________

            22.  As does the  majority, I assume  the accuracy of  Hamm's
            claim  of  entitlement  to 840  days  of  jail  credit.   See
                                                                      ___
            Majority  at 8.    I note,  however, that  the  claim is  not
            ________
            critical to my analysis.  Even without the 840 days, the 1977
            aggregation  policy  deprives  Hamm  of  the  opportunity  to
            advance  his initial ultimate  parole date by  over three and
            half years.

                                         -40-
                                          40















            posed a sufficient risk of increasing the measure of

            punishment.  Moreover, while it is clear that Hamm bears the

            ultimate burden of establishing that the new law changes the

            measure of punishment, Morales, 115 at 1603 n.6, this does
                                   _______

            not mean that he must necessarily show "that he would have

            been sentenced to a lesser term under the measure or range of

            punishments in place under the previous statutory scheme." 

            Id. (citing Lindsey v. Washington, 301 U.S. 397, 401 (1937));
            ___         _______    __________

            see also id. at 1607 (Stevens, Souter, J.J., dissenting);
            ___ ____ ___

            Miller v. Florida, 482 U.S. 423, 432 (1987) (reaffirming
            ______    _______

            Lindsey).  Indeed, the proper "inquiry looks to the
            _______

            challenged provision, and not to any special circumstances

            that may mitigate its effect on the particular individual." 

            Weaver, 450 U.S. at 33.
            ______

                      In any event, the fact of the matter is that the

            1977 aggregation policy completely deprived Hamm of his once-

            existing opportunity to gain a release from prison as much as

            six years earlier than he can now.  Moreover, notwithstanding

            my colleagues' post hoc evaluation of Hamm's chances, because
                           ____ ___

            Hamm never received a parole hearing, no findings exist to

            inform us whether or not the Commonwealth would have found

            Hamm to be a likely candidate for early parole from his life

            sentence.  Indeed, without such findings or even knowledge

            concerning the standards and policies that guide the

            Commonwealth's Parole Board in making such recommendations,



                                         -41-
                                          41















            this court can only speculate as to whether the 1977
            ____ _____

            aggregation policy posed a sufficient risk to Hamm.23

                      In Morales, the Court reasoned that the delay in
                         _______

            parole suitability hearings caused by the challenged

            amendment did not produce a sufficient risk of punishment

            because, in major part, the amendment affected only a

            carefully limited class of prisoners, and the impact of any

            delay on an affected prisoner's actual time in prison was

            negligible.  Implicit in the Court's holding, however, is the

            recognition that delay in a parole hearing produces some
                                                                ____

            possibility of an increase in punishment.  Where, as here,

            the delay is not predicated on a finding that the prisoner is

            an unlikely candidate for parole, and the delay may

            significantly increase the prisoner's sentence, I believe,

            even in Hamm's case, such delay produces a "sufficient risk

            of increasing the measure of punishment."  Morales, 115 at
                                                       _______

            1603.

                      As noted, my colleagues also base their conclusion

            on the premise that the 1977 aggregation policy arguably

            provides a "real" benefit to Hamm and other affected

            prisoners.  I believe, however, that it is this putative

            "benefit" that is too "speculative" to merit significant

                                
            ____________________

            23.  The fact  that the record  lacks the opinion,  much less
            the findings,  of the  Commonwealth's Parole Board  on Hamm's
            suitability   for  early   parole  clearly   underscores  the
            inappropriateness  of my  colleagues' "harmless  error" style
            review.   

                                         -42-
                                          42















            weight in the ex post facto inquiry.  Any fair analysis

            reveals that the supposed benefit arising from the 1977

            aggregation policy assumes several rather contradictory

            predicates.  For example, to find that Hamm would benefit

            from the 1977 policy, I would need to assume both (1) that,

            under the prior policy, the Commonwealth's Parole Board would

            have refused to grant Hamm parole from his life sentence at

            least three times (in 1983, 1986, and 1989), or that, if the

            board did grant him such initial parole, he would have

            subsequently failed to accrue good-time credits, and (2)
                                                             ___

            that, under the new policy, the Parole Board would then grant

            him "real" parole into society at large in 2001

            (notwithstanding that the board would not even have granted

            Hamm parole from his life sentence into his lengthy from-and-

            after sentences on at least three prior occasions).  In other

            words, the Parole Board would have to deny Hamm's request for

            parole from one lengthy sentence into another at least three

            times, but then, a short time later, be willing essentially

            to grant Hamm a complete release from prison.  The inherent

            contradiction in such assumptions discloses the difficulty of

            quantifying such a "benefit," or even determining whether one

            genuinely exists.  Thus, I believe that any benefit

            engendered by the 1977 aggregation policy is much too







                                         -43-
                                          43















            speculative to serve as an effective counterweight to its

            real risk of harm.24

                                         II.
                                         II.

                      In sum, I believe that the 1977 aggregation policy

            is a "law" subject to ex post facto limitation, and that the

            policy produces a risk of increasing the measure of

            punishment sufficient to violate the Ex Post Facto Clause of

            the Constitution.  Accordingly, I dissent from parts II.B.-

            III.











                                
            ____________________

            24.  My  colleagues  find  further  support  in  the  Seventh
            Circuit's  recent decision in United States v. McGee, 60 F.3d
                                          _____________    _____
            1266,  1271 (7th Cir. 1995).   In McGee,  the Seventh Circuit
                                              _____
            rejected an ex post facto challenge to a sentencing provision
            that  substituted a  mandatory range  of 21  to 24  months in
            place of  an open-ended  12  month minimum  sentence for  the
            offense  of conviction.  Id. I find the analogy inapt because
                                     ___
            in  McGee  the  district  court had  actually  sentenced  the
                _____
            defendant to the maximum  24 months under the  new sentencing
            range  prior to  the  Seventh Circuit's  review.   Thus,  the
            Seventh  Court could fairly quantify both the benefit and the
            harm produced  by the  new sentencing range.   Significantly,
            the fact that the district  court had sentenced the defendant
            to  the  maximum possible  under  the  new sentencing  scheme
            clearly suggested that, if anything, it would have given  the
            defendant  a  higher,  not  lesser, sentence  under  the  old
            scheme.   In our  case, however,  Hamm received  no analogous
            treatment.   He received no parole hearing.  Thus, instead of
            fairly  quantifying the risk as  the McGee court  did, we can
                                                 _____
            only speculate as  to the effect the 1977  aggregation policy
            will ultimately have on his sentence.

                                         -44-
                                          44









